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                    EXHIBIT I
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE
COMMISSION,

                                Plaintiff,

                      v.

MAGDALENA TAVELLA, 

ANDRES HORACIO FICICCI-llA, GONZALO 

GARCIA BLAYA, LUCIA MARlANA 

HERl'\TANDO, CECILIA DE LORENZO, 

ADRIANA ROSA BAGATTIN, 

DANIELA PATRICIA GOLDMAN, 

MARIANO PABLO FERRARI, 

MARIANOGRACIARENA,~d
FERNANDO LOUREYRO,

                                Defendants.



                                        COMPLAINT

       Plaintiff Securities and Exchange Conunission (the "Conm1ission") for its

Complaint alleges as follows:

       1.      The Commission brings this civil law enforcement action against

Magdalena Tavella, Andres Horacio Ficicchia, Gonzalo Garcia Blaya, Lucia Mariana

Hernando, Cecilia De Lorenzo, Adriana Rosa Bagattin, Daniela Patricia Goldman, and

Mariano Pablo Ferrari (collectively, the "Selling Defendants") on an emergency basis to

prevent millions of dollars ofproceeds from tmla'hful sales of securities being transfened

out of the country. Over the past month, the Selling Defendants have sold almost $34

million worth of securities in Biozoom, Inc. ("Biozoom") (f/kfa Entertainment Art, Inc.),

a penny stock company traded on the Over-the-Counter Bulletin Board ("OTCBB"), and
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millions more shares are sitting in defendants' brokerage accounts and likely to be sold

unlawfully to the public.       No registration statement was in effect for the Selling

Defendants' resale of securities, thus their sales were in violation of Section 5 of the

Securities Act of 1933 (the "Securities Act") [15 U.S.C. § 77e]. Further, almost $17

million of the Selling Defendants' ill-gotten proceeds have been transferred out of the

United States. Unless an asset freeze covering the Selling Defendants' Biozoom shares is

issued, the unlawful sales of securities and transfer or dissipation of the proceeds from

sales ofthe securities will likely continue.

        2.      The Commission also brings this civil law enforcement action against

Mariano Graciarena and Fernando Loureyro. These defendants recently deposited over a

total of approximately 4.4 million shares of Biozoom stock into their respective

brokerage accounts.      Like the shares sold by the Selling Defendants, there is no

registration statement in effect permitting the lawful resale of the Biozoom shares held by

Graciarena and Loureyro. Because Graciarena and Loureyro are likely to engage in the

sale of securities in violation of Section 5 of the Securities Act, the Commission seeks to

enjoin them from offering for resale their Biozoom shares until such time as a registration

statement is filed and in effect.

        3.      From March 2013 to June 2013, defendants opened brokerage accounts at

broker-dealers and deposited millions of shares of Biozoom, Inc. (f/k/a Entertainment

Art, Inc.) that they claimed did not bear a restrictive legend and were free-trading shares.

All of the defendants claimed that they had purchased all or some of their shares from

some of the original shareholders of Entertainment Art in transactions between

November 2012 and March 2013.




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       4.      To bolster their claims, each of the defendants submitted stock purchase

agreements dated between November 2012 and March 2013 that purportedly evidenced

their purchase of Entertainment Art stock from the former Entertainment Art

shareholders. Based on these stock purchase agreements and other documentation, the

defendants- between March 2013 and June 2013- deposited a total of20,130,000 shares

ofBiozoom into their brokerage accounts.

       5.      The defendants could not, however, have purchased any of their shares

from the original Entertainment Art shareholders as they claimed because those

shareholders ceased to have any interest in the company on or around May 2009 -more

than three years earlier than the defendants' claimed purchases.

       6.      Almost inunediately after defendants deposited shares ofBiozoom in their

brokerage accounts, Biozoom began issuing a series of press releases and a stock

promotional campaign for the company began. Following these press releases and stock

promotional campaign, from May 16, 2013 to June 21, 2013, the company's stock price

and volume increased dramatically. For example, prior to May 16, 2013, no shares in

Biozoom had traded. However, from May 16, 2013 to Jtme 21, 2013, Biozoom's stock

price shot past $4 per share, with total volume of more than 87 million shares.

       7.      During this same period, eight ofthe defendants sold millions ofBiozoom

shares into the rising market     reaping millions of dollars in proceeds as a result. In

total, over an approximately one month period from May 16, 2013- Jtme 17, 2013, eight

of the defendants sold a total of over 14 million shares of Biozoom stock into the public

markets for proceeds of almost $34 million.




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        8.     None of these sales were made pursuant to an effective registration

statement. By engaging in the foregoing conduct, the eight Selling Defendants violated

the registration provisions of the federal securities laws, Sections 5(a) and 5(c) of the

Securities Act of 1933 ("Securities Act") [15 U.S.C. 15 U.S.C. §§ 77e(a) and 77e(c)].

       9.      While the remaining two defendants- Graciarena and Loureyro- have yet

to sell any of their Biozoom shares, they are likely to do so unless restrained. They

recently deposited millions of shares into their respective brokerage accounts, claiming

(as the other defendants) that these shares have no restrictive legend and are available for

resale to the public. Therefore, the Commission seeks an order pursuant to Securities Act

Section 20(b) [15 U.S.C. 77t(b)] to enjoin them from violations of Sections 5(a) and 5(c)

ofthe Securities Act.

                              JURISDICTION AND VENUE

        10.    The SEC brings this action pursuant to Section 5 [15 U.S.C. § 77e) and

Section 20(b) of the Securities Act of 1933 ("Secmities Act") [15 U.S.C § 77t(b)].

Defendants have directly or indirectly made usc of the means or instrumentalities of

interstate commerce, or of the mails, or the facilities of a national securities exchange in

connection with the acts, practices, transactions, and courses of business alleged in tlus

Complaint.

       11.     This Court has jurisdiction over this action pursuant to Section 22 of the

Securities Act [15 U.S.C. § 77v], and 28 U.S.C. § 1331.

       12.     Venue is proper in this Comt pursuant to Section 22(a) of the Securities

Act [15 U.S.C. §77v], because cert:1in acts, practices, and courses of business constituting

the violations alleged herein have occurred within the Southern District of New York.




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        13.     Defendants will, unless restrained and enjoined, continue to engage in the

acts, practices, transactions, and courses of business alleged in this Complaint, or in acts,

practices, transactions, and courses of business of similar purport and object.

                                  THE DEFENDANTS

        14.     Defendant Andres Horacia Ficicchia resides in Buenos Aires, Argentina

and is an Argentine citizen.

        15.     Defendant Gonzalo Garcia Blaya resides in Buenos Aires, Argentina, and

is an Argentine citizen.

        16.    Defendant Luciana Mariana Hernando resides in Buenos Aires, Argentina,

and is an Argentine citizen.

        17.    Defendant Cecilia De Lorenzo resides in Buenos Aires, Argentina, and is

an r\rgentine citizen.

        18.    Defendant Magdalena Tavella resides in Buenos Aires, Argentina, and is

an Argentine citizen.

        19.    Defendant Adriana Rosa Bagattin resides in Buenos Aires, Argentina, and

is an Argentine citizen.

       20.     Defendm1t Daniela Patricia Goldm<m resides in Buenos Aires, Argentina,

and is an Argentine citizen.

       21.     Defendm1t Mariano Pablo Ferrari resides in Buenos Aires, Argentina, and

is an Argentine citizen.

       22.     Defendant Mariano Graciarena resides in Buenos Aires, Argentina, and is

an Argentine citizen.




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        23.    Defendant Fernando Loureyro resides in Buenos Aires, Argentina, and is

an Argentine citizen.

                           OTHER RELEVANT ENTITIES

       24.     Biozoom, Inc. (f/k/a Entertainment Arts, Inc.) is a Nevada corporation

with its principal place of business in Kassel, Germany. Biozoom purports to be in the

business of researching, developing, and licensing technologies relating to the mobile

remote collection of biomedical data as well as bilateral diagnostic communication.

Biozoom's common stock is registered with the Commission pursuant to Section 12 of

the Securities Exchange Act of 1934 ("Exchange Act") [15 U.S.C. §781] and is quoted on

the Over-the-Counter Bulletin Board ("OTCBB") under the trading symbol "BIZM."

       25.     Legend Securities ("Legend") is a registered broker-dealer located in New

York, New York.

       26.     Scottsdale Capital Advisors ("Scottsdale") is a registered broker-dealer

located in Phoenix, Arizona.

                               FACTUAL BACKGROlJND

       A.      The Creation of Entertainment Art and Initial Sale of Company

       27.     On June 15, 2007, Entertainment Art was incorporated under the laws of

the state of Nevada.    In public filings, Entertainment Art represented that it was a

developmental stage company tonned to design, produce, and sell a line of leather bags,

with offices located in West Hempstead, New York. Entertainment Art was controlled

by the three members of company management.

       28.     From November 2007 through March 2008, Entertainment Art offered and

sold a total of 610,000 shares to 34 different investors in private placement transactions.




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A share certificate reflecting Entertainment Art share ownership was issued to each

investor.

       29.     On July 18, 2008, Entertainment Art filed a Form S-1 registration

statement with the Commission to register the resale transactions for the 34 shareholders

who acquired Entertainment Art stock in these private placements ("the Form S-1

Shareholders"). In particular, ofthe total 1,810,000 shares outstanding at the time ofthe

Form S-1, Entertainment Art's S-1 covered 610,000, or approximately one-third, of the

company's then outstanding shares.

       30.     The remaining 1,200,000 shares of Entertainment Art stock were held by

the three company officers in three identical400,000 share blocks.

       31.     On May 1, 2009, Entertainment Art announced, in a public filing with the

Commission, that the three Entertainment Art officers sold their total 1,200,000 shares of

Entertainment Art to Medford Fin.:mcial Ltd. ("Medford Financial"), a Belizean entity,

for a purchase price of $120,000.

       32.     Contrary to this disclosure, however, Medford Financial purchased more

than 1,200,000 shares of Entertainment Art. In fact, Medford Financial also purchased

all ofthe 610,000 shares that had been purchased by the Form S-1 shareholders. Thus, in

tllis transaction, Medford Financial purchased all of the outstanding shares, including the

shares then held by the Form S-1 Shareholders.

       33.     Each of the Fom1 S-1 shareholders received their initial investment back,

with an additional, small return on their investment. Thus, by on or around May 2009,

each of the Fonn S-1 shareholders had no remaining shares or other interest in

Entertainment Art.




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           34.      According to company filings, on June 30, 2009, Entertainment Art's

board of directors approved the implementation of a 33:1 forward split for Entertainment

Art stock without correspondingly increasing the authorized shares of common stock for

Entertainment Art. On July 21, 2009, the forward split became effective, and as a result

of the forward split, the company had 59,730,000 shares of common stock outstanding-

which was all owned by Medford Financial.

           B.       Another Sale of Entertainment Art and Acquisition of Biozoom
                    Technology

           35.      On October 25, 2012, Entertainment Art reported, in a public filing with

the Commission, that on October 19 Medford Financial sold 39,600,000 common shares

of Entertainment Art in a private transaction with Le Mond Capital for a purchase price

of $430,000, which equates to approximately $0.01 per share.

       36.          LeMond Capital purports to be a foreign entity based in the British Virgin

Islands.        As a result of the sale, Entertainment Art disclosed that Le Mond Capital

controlled over 66.3% of the Company's issued and outstanding conunon stock.

       37.          However, on information and belief, Le Mond Capital purchased the

entire company from Medford Financial- and all of 59,730,000 outstanding shares.

       38.          The owner of Le Mond Capital, Sara Deutsch, became Entertainment

Art's new President, Chief Executive Officer, Principal Executive Officer, Treasurer,

Chief Financial Officer, Secretary, Treasurer, and Director. On information and belief,

Deutsch is a resident of Buenos Aires, Argentina.

       39.          From September 2011 to at least October 2012, Deutsch worked as a

manager of Magdalena's Party. According to the business' website, Magdalena's Party is




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a restaurant located in Buenos Aires, Argentina. According to another website describing

Magdalena's Party, it is co~owned by Deutsch, defendant Magdalena Tavella, and others.

         40.   On March 12, 2013, Entertainment Art filed a Form           8~K   with the

Commission in which it announced a dramatic change in its business operations from a

company that developed fashionable leather bags to a company that was involved in the

biomedical industry. In particular, Entertainment Art announced a transaction pursuant

to which its newly formed subsidiary, Biozoom Technologies, Inc., acquired certain

patents, licenses, and related assets from each of three separate companies; Opsolution

Spectroscopic Systems, Opsolution NanoPhotonics, and Opsolution GmBH, (the

"Opsolution acquisition") in exchange for cash of $50,000 and 39 million shares of

Entertaimnent Art common stock.

        41.    Entcrtaimnent Art described that, through Biozoom, it was now in the

business of "researching, developing, and licensing technologies relating to the mobile

remote collection of biomedical data as well as bilateral diagnostic communication."

        42.    Entertainment Art further disclosed that - as of immediately after closing

of the Opsolution acquisition and filing of the Form 8-K - Deutsch would step dovvn as

CEO and Chief Financial Officer of Ente1tainment Art, but would stay on as a Director

only.

        43.    As a result of the transaction, the 59,730,000 outstanding shares of

Entertainment .Art were allocated in the following manner.      First, Le Mond Capital

returned 39,000,000 shares to the company, and then those 39,000,000 shares were

allocated - as shares bearing a restrictive legend -to four entities that were associated

with the Opsolution entities.




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        44.    Thus, after these allocations, 20,730,000 shares of Entertainment Art

remained. Le Mond Capital retained 600,000 of these shares bearing a restrictive legend.

The remaining 20,130,000 shares- which represented the total shares purchased by the

Form S-1 Shareholders (and subsequently sold in the Medford Financial transaction on or

around May 2009) - were unallocated.

        45.    On April 1, 2013, Entertainment Art changed its name to Biozoom, under

the trading symbol "BIZM" on the OTC Bulletin Board.

        C. 	   Defendants Deposit Biozoom Shares In Their Newly Opened
               Brokerage Accounts

        46.    From January 2013 to May 2013, brokerage accounts were opened at

Legend, a registered broker-dealer based in New York, in the name of four of the

defendants: Ficicchia, Blaya, Hernando, and De Lorenzo.

        47.    In May 2013, brokerage accounts were opened at Scottsdale, a registered

broker-dealer based in Phoenix, Arizona, in the name of another four defendants:

Tavella, Bagattin, Goldman, and Ferrari.

        48.    According to the account opening documentation ·- and as reflected in the

table below - with one exception, none of the defendant<; worked in fields related to

securities.




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  Tavella                                       Attorney practicing administrative, political,

                                                intellectual property, and patent law

  Bagattin                                      Retired Teacher

  Ferrari

  Goldman



             1. Accounts at Legend

Andres Horacio Ficicchia

       49.      Defendant Ficicchia opened his account at Legend on or about January 24,

2013 and :fimded the account with $26,000 cash.

       50.      On November 30, 2012, Entertainment Art's transfer agent issued an

Entertaim11ent Art certificate for 165,000 shares to Ficicchia.

       51.      On March 13, 2013, Entertaimnent Art's transfer agent issued an

Entertaimnent Art certificate for 1,237,500 shares to Ficicchia.

       52.      The certificate for 1,237,500 shares was accompanied by a corporate

certification stating that Deutsch certified -at a board meeting of Entertainment Art on

March 22,2013- the company approved the issuance of that certificate to Ficicchia.

       53.     In order to deposit the certificate for 1,237,500 shares and the certificate of

165,000 shares of Entertainment Art into his brokerage account at Legend, defendant

Ficicchia completed a "Deposit for Securities Request Certificate Questionnaire" that was

required by Legend, and provided additional documentation.




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        54.    The documentation reflected that Ficicchia acquired the 1,237,500 shares

pursuant to two private sales that were completed on February 19,2013: (1) a purchase of

412,500 shares from Investor A and (2) a purchase of 825,000 shares from Investor B.

The documentation also reflected that Ficicchia paid a total of approximately $6,300 for

these shares, which equals approximately $.005 per share. For the following reasons, the

documentation submitted by Ficicchia was false.

        55.    Investor A was one of the Form S-1 shareholders who had sold his shares

of Entertainment Art on or around May 2009 - almost four years before Ficicchia's

claimed purchase of shares from Investor A. Investor B was purportedly a shareholder

that acquired its shares from some of the Form S-1 shareholders in2011- approximately

two years after the Form S-1 shareholders actually sold their shares.

        56.    The documentation further reflected that Defendant Ficicchia acquired the

165,000 shares pursuant to a private sale that was completed on November 30, 2012 with

Investor C- shares that he acquired for $24,750, which equals $0.15 per share. Investor

C was also one of the Form S-1 Shareholders who had sold his shares of Entertainment

Art on or around May 2009 - over three years before Ficicchia's claimed purchase of

shares from Investor C.

       57.     On March 5, 2013, F'icicchia deposited 165,000 shares of Entertairm1ent

Art not bearing a restrictive legend into his brokerage account at Legend; and then on

March 27, 2013, Ficicchia deposited an additional 1,237,500 shares (again not bearing a

restrictive legend)- for a total of 1,402,500 shares.

       58.     On April 1, 2013, due to the name change of Entertainment Art to

Biozoom, these shares became Biozoom shares.             Thus, defendant Ficicchia held




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1,402,500 shares of Biozoom that were purportedly available to be sold on the public

markets.

Gonzalo Garcia Blaya

       59.     On or about March 26, 2013, defendant Blaya opened an account at

Legend and funded this account with $26,000 cash.

       60.     On March 22, 2013 -just four days prior to opening this account ­

Entertainment Art's transfer agent issued a certificate for 1,485,000 Entertainment Art

shares to Blaya.

       61.     In order to deposit his certificate for 1,485,000 shares of Entertainment

Art into his brokerage accow1t at Legend, defendant Blaya completed a "Deposit for

Securities Request Certificate Questionnaire" that was required by Legend, and provided

additional documentation. For the following reasons, the documentation submitted by

Blaya was false.

       62.     The documentation ref1ected that Blaya acquired the 1,485,000 shares in

four separate private sales that were completed on March 4, 2013: (1) a purchase of

165,000 shares from Investor D; (2) a purchase of 495,000 shares from Investor E; (3) a

purchase of 165,000 shares from Investor F; and (4) a purchase of 660,000 shares from

Investor G. The documentation also re:t1ected that Blaya paid a total of approximately

$6,765 for these shares, which equals approximately $.005 per share.

       63.     Each of Investors D, E, F, and G were Form S-1 Shareholders who had

sold their Entertainment Art shares on or around May 2009 - almost four years before

Blaya's claimed purchase of shares from these investors.




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        64.    On April 16, 2013, Blaya deposited 1,485,000 shares ofEntertainment Art

not bearing a restrictive legend into his brokerage account at Legend. As a result of the

business name change on April 1, 2013, these shares became .Biozoom shares. Thus,

defendant Blaya held 1,485,000 shares of Biozoom that were purportedly available to be

sold on the public markets.

Luciana Mariana Hernando

       65.     On or about March 7, 2013, defendant Hernando opened an account at

Legend and funded the account with $50,000 cash.

        66.    On March 22, 2013, Entertainment Art's transfer agent issued a certificate

for 1,815,000 Entertainment Art shares to Hernando.

       67.     In order to deposit her 1,815,000 shares of Entertainment Art into her

brokerage account at Legend, defendant Hemando completed a "Deposit for Securities

Request Certificate Questionnaire" that was required by Legend, and provided additional

documentation. For the following reasons, the documentation submitted by Hernando

was false.

       68.     The documentation reflected that Hernando acquired the 1,815,000 shares

pursuant to two separate private sales that were completed on March 5, 2013: (1) a

purchase of 1,650,000 shares from Investor H; and (2) a purchase of 165,000 shares from

Investor I. The documentation also reflected that Hernando paid a total of approximately

$5,445 for these shares, which equals approximately $.003 per share.

       69.    Both Investors H and I were Fonn S-1 shareholders who had sold their

Entertainment Art shares on or around May 2009- almost four years before Hernando's

claimed purchase of shares from these investors.




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        70.    On May 14, 2013, defendant Hemando deposited 1,815,000 shares of

Entertainment Art not bearing a restrictive legend into her brokerage account at Legend

Securities. As a result of the business name change on April 1, 2013, these shares

became Biozoom shares. Thus, defendant Hemando held 1,815,000 shares of Biozoom

that were purportedly available to be sold on the public markets.

Cecilia De l_.~orenzo

        71.    On or about February 4, 2013, defendant De Lorenzo opened an account at

Legend and fLmded the account with $50,000 cash.

       72.     On March 13, 2013, Entetiainment Art's transfer agent issued a certificate

for 2,062,500 shares to De Lorenzo.

       73.     The certificate was accompanied by a corporate certification stating that

Deutsch certified - at a board meeting of Entertainment Art on March 22, 2013 -the

company approved the issuance of the above certificate to De Lorenzo.

       74.     In order to deposit her 2,062,500 shares of Entertainment Art into her

brokerage account at Legend, De Lorenzo completed a "Deposit for Securities Request

Ce1tificate Questionnaire" that was required by Legend, and provided additional

documentation. For the following reasons, the documentation submitted by De Lorenzo

was false.

       75.     The documentation ref1ected that De Lorenzo acquired the 2,062,500

shares pursuant to two separate private sales that were completed on February 19, 2013­

the same day as the purported purchases of Entertainment Art stock by Ficicchia: (1) a

purchase of 1,650,000 shares from Investor J; and (2) a purchase of 412,500 shares from




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Investor K. The documentation also reflected that Defendant De Lorenzo paid a total of

approximately $8,300 for these shares, which equals approximately $.004 per share.

       76.       Both Investors J and K, however, were Form S-1 shareholders who had

sold their Entertainment Art shares on or around May 2009 - almost four years before

defendant De Lorenzo's claimed purchase of shares from these investors.

       77.       On March 22, 2013, defendant De Lorenzo deposited 2,062,500 shares of

Entertainment Art not bearing a restrictive legend into her brokerage account at Legend.

As a result of the business name change on April 1, 2013, these shares became Biozoom

shares. Thus, defendant De Lorenzo held 2,062,500 shares of Biozoom that purportedly

could be sold on the public markets.

              2. Accounts at Scottsdale

Magdalena TaveUa

       78.        On March 22, 2013, Entertaimnent Art's stock transfer agent issued a

certificate for 1,815,000 shares of Entertainment Art to Tavella.

       79.       On or about May 16, 2013, defendant Tavella opened an account at

Scottsdale.

       80.       In order to deposit her 1,815,000 shares of Entertaimnent Art into her

brokerage account, Scottsdale, using information and documentation provided by

Tavella, completed a securities deposit checklist        For the following reasons, the

docmnentation submitted by Tavella was false.

       81.       The documentation reflected that Tavella acquired the 1,815,000 shares

pursuant to three separate private sales that were completed on March 5, 2013- the same

day as the purported purchases of Entertainment Art by defendant Hernando: (1) a




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purchase of 165,000 shares from Investor L; (2) a purchase of 165,000 shares from

Investor M; and (3) a purchase of 1,485,000 shares from Investor N. The documentation

reflected that Tavella paid a total of approximately $9,075 for these shares, which equals

approximately $.006 per share.

       82.     Investors Land M were two ofthe Form S-1 shareholders who had sold

their shares of Entertainment Art on or around May 2009 - almost four years before

Tavella's claimed purchase of shares from them.          Investor N was purportedly a

shareholder that acquired its shares from some of the Form S-1 shareholders in March

2011 -almost two years after the Form S-1 shareholders sold their shares.

       83.     On May 22, 2013, defendant Tavella deposited 1,815,000 shares of

Entertainment Art not bearing a restrictive legend into her brokerage account at

Scottsdale. As a result of the business name change on April 1, 2013, these shares

became Biozoom shares. Thus, defendant Tavella held 1,815,000 shares ofBiozoom that

were purportedly available to be sold on the public markets.

Adriana Rosa Bagattin

       84.     On March 13, 2013, Entertainment Art's transfer agent issued a certificate

for 2,310,000 Entertainment Art shm·es to defendant Bagattin.

       85.    On or about May 10, 2013, defendant Bagattin opened m1 account at

Scottsdale.

       86.    In order to deposit her 2,310,000 shares of Entertainment Art into her

brokerage account, Scottsdale, using information and documentation provided by

Bagattin, completed a securities deposit checklist.      For the following reasons, the

documentation submitted by Bagattin was false.




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       87.     The documentation reflected that Bagattin acquired the 2,310,000 shares

pursuant to three private sales that were completed on February 26, 2013: (1) a purchase

of 1,650,000 shares from Investor 0; (2) a purchase of 330,000 shares from Investor P;

and (3) a purchase of330,000 shares from Investor Q. The documentation reflected that

Defendant Bagattin paid approximately $6,930 for these shares, which equals

approximately $.003 per share.

       88.     Each oflnvestors 0, P, and Q, however, were Form S-1 Shareholders who

had sold their Entertainment Art shares on or around May 2009 - almost four years

before defendant Bagattin's claimed purchase of shares from these persons.

       89.     On May 22, 2013, Bagattin deposited 2,310,000 shares of Entertainment

Art not bearing a restrictive legend into her brokerage account at Scottsdale. As a result

of the business name change on April 1, 2013, these shares became Biozoom shares.

Thus, defendant Bagattin held 2,310,000 shares of Biozoom that were purportedly

available to be sold on the public markets.

Daniela Patricia Goldman

       90.     On March 22, 2013, Entertainment Art's transfer agent issued a certificate

for 2,485,000 Entertaimnent Art shares to Goldman.

       91.     On or about May 13, 2013, defendant Goldman opened an account at

Scottsdale.

       92.     In order to deposit her 2,485,000 shares of Entertainment Art into her

brokerage account, Scottsdale, using documentation and information provided by

Goldman, completed a securities deposit checklist.       For the following reasons, the

documentation submitted by Goldman was false.




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        93.    The documentation reflected that Goldman acquired the 2,485,000 shares

pursuant to two private sales that were completed on March 4, 2013: (1) a purchase of

1,485,000 shares from Investor R; and (2) a purchase of 1,000,000 shares from Investor

S. The documentation also reflected that Goldman paid approximately $7,455 for these

shares, which equals approximately $.003 per share.

       94.     Investor R purportedly obtained its shares from some of the Fom1 S-1

Shareholders in March 2011 - almost two years after the Form S-1 shareholders sold

their shares. Investor S was one of the Form S-1 shareholders and sold his shares on or

arotmd May 2009 - almost four years before defendant Goldman's claimed purchase of

shares from him.

       95.     On May 22, 2013, Goldman deposited 2,485,000 shares ofEntertainment

Art not bearing a restrictive legend into her brokerage accotmt at Scottsdale. As a result

of the business name change on April 1, 2013, these shares became Biozoom shares.

Thus, defendant Goldman held 2,485,000 shares of Biozoom that were purportedly

available for sale on the public markets.

Mariano Pablo Ferrari

       96.     On March 22, 2013, Entertainment Art's transfer agent issued a certificate

for 2,310,000 Entertainment Art shares to Ferrari.

       97.     On or about May 20,2013, Ferrari opened an account at Scottsdale.

       98.     In order to deposit his 2,310,000 shares of Entertainment Art into his

brokerage account, Scottsdale, using documentation and information provided by Ferrari,

completed a securities deposit checklist. For the following reasons, the docrnnentation

provided by Ferrari was false.




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       99.      The documentation reflected that Ferrari acquired the 2,310,000 shares

pursuant to two private sales that were completed on March 5, 2013: (1) a purchase of

1,650,000 shares from Investor T; and (2) a purchase of 660,000 shares from Investor U.

The documentation also reflected that Goldman paid approximately $9,240 for these

shares, or approximately $.004 per share.

       100.     Investor Twas one of the Form S-1 shareholders and sold his shares on or

around May 2009 - almost four years before defendant Ferrari's claimed purchase of

shares from him. Investor U purportedly obtained its shares from some of the Form S-1

shareholders in September 2009.

       101.     On May 22,2013, Ferrari deposited 2,310,000 shares of Entertainment Art

not bearing a restrictive legend into his brokerage account at Scottsdale.   As a result of

the business name change on April 1, 2013, these shares became Biozoom shares. Thus,

defendant Ferrari held 2,310,000 shares of Biozoom that were purportedly available for

sale on the public maTkets.

Two Other Accounts in Names of Defendants Graciarena and Loureyro

       102.     On March 22, 2013, Manhattan Transfer issued a certificate for 2,145,000

Entertaimnent Art shares to Graciarena and 2,300,000 Entertainment Art shares to

Loureyro.     Graciarena and Loureyro submitted docmnentation reflecting that they had

obtained their shares in the same manner as the other eight defendants - i.e. - by

pmportedly purchasing shares from the Form S-1 shareholders.

       103.     On or about June 14, 2013, Fernando Loureyro and Mariano Graciarena

opened separate accounts at Scottsdale. Like the other eight defendants, both stated in

brokerage firm documents that they resided in Buenos Aires, Al'gentina.




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       104.    On June 18, 2013, these shares were deposited in the brokerage accounts

of these two individuals. To date, none ofthese shares have been sold.

       105.   In sum, from November 2012 to June 2013, the ten defendant accounts

received a total of20,130,000 shares of Entertainment Art. These shares represented all

of the shares that were unallocated after the Opsolution acquisition. Moreover, these

shares represented 100% percent of the total shares without a restrictive legend

outstanding in Biozoom at the time, and more than 33% percent of the total outstanding

shares of Biozoom.

       D.     Defendants Sell Millions of Biozoom Shares

       106.   Begim1ing on May 22, 2013 -and aiter nearly all of the defendants had

deposited their Biozoom shares not bearing a restrictive legend in their accounts -

Biozoom began issuing a series of press releases in which it claimed it "created the

world's first portable, handheld conswner device" to instantly and non-invasively

measure certain biomarkers. These claims were also made by other entities, including

Global Financial, Inc., Stock Preacher.com, among others.

       107.   Following these positive claims concerning Biozoom's prospects, the

accounts in the name of eight of the selling defend<mts sold substantial amounts of their

Biozoom stock that did not bear a restrictive legend for massive proceeds. In particular,

and as reflected in the chart below, eight of the defendants sold 14,078,406 shares of

BIZM stock for proceeds of$33,997,152.

                                                            ·Proceeds .. ''

                                                             $3,014,965




                                           21 

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                                                                  _,
          Defendant        1Shares Sold,,    t'Dates Sold ' · ·        Proceeds i ' , "Shares,'·'     >>
                                                                                      Remainin~
          Ficcichia        __ b.191.2.500   I 5/20/13 - 615113    $1,9791389          272,620 1
          Tavella           1,592,444       l 6/7/13-6/11/13 $3,116,894               382!956"
         ~~~g§lj:!in~.      2,176,726         6110/13 - 6/18/13 I $6,223,31 o         l:t~2.1f4
          Ferrari           1,994,038         617/13-
                                            ·-~  .	
                                                       6/19/13 I $5,456,69o           315,962
          Goldman           2,457,645         5/28/13 - 6/6/13 L$~}71,761             27,355


         108.     All of the eight selling defendants placed their orders to sell Biozoom

stock in the same manner- via e-mail and instant message to either Legend or Scottsdale.

         109.     Upon selling shares in Biozoom, several ofthe defendants instructed their

brokerage firms to wire the proceeds of their sales to foreign bank accounts in various

countries:

    • 	 Ficicchia: On June 7, 2013, defendant Ficicchia instructed Legend, to wire $1

        million to Alpine Securities, Inc., a registered clearing broker-dealer.                  Alpine

        provides clearing services for Scottsdale, and as described earlier, Ficicchia

        opened an account at Scottsdale on or around June 10, 2013 and funded it with

        this $1 million. On June 25, 2013 --the same day as the Commission's order

        suspending trading in Biozoom - Ficicchia instructed Scottsdale to wire $325,000

        to a bank account in Cyprus. This wire was not executed. Ficicchia's brokerage

        account at Legend currently has a cash balance of slightly over $1 million, and

        Ficicchia's brokerage account at Scottsdale currently has a cash balance of

        approximately $328,000.




        On or around June l 0, 2013, Ficicchia opened an account at Scottsdale and funded this account
with $1 million from his account at Legend. Ficicchia's "Shares Remaining" column reflects Biozoom
purchases that he has made in his account at Scottsdale.

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        Tavella's "Shares Remaining" column includes 160,400 Biozoom shares that she purchased in the
open market on June 19, 20 l3.


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•   Blaya: On June 14, 2013, Blaya instructed Legend to wire "all settled funds

    except $30,000" to an account held in Geneva, Switzerland. This wire was not

    executed.   This account currently has a cash balance of approximately $3.5

    million.

•   Hernando: On June 13, 2013, Hernando instructed his broker-dealer, Legend, to

    wire "all available settled cash" in her account, which at the time, was

    approximately $600,000, to an account held at Hellenic Bank Public Company

    Limited in Lemesos, Cyprus.     This wire was executed.       On June 17, 2013,

    Hernando instructed his broker-dealer, Legend, to wire $2 million, again to an

    account held at Hellenic Bank Public Company Limited in Lemesos, Cyprus.

    This wire was not executed by Legend.         This account has a cash balance of

    approximately $4.5 million.

8   De IA}renzo: De Lorenzo has not yet attempted to wire any money out of her

    account. De Lorenzo has a bank account in DarEs Salaam. The account has a

    cash balance of approximately $4.8 million.

•   Tavella: On June 25, 2013 - the day of the Commission's order suspending

    trading in the securities of Biozoom   Tavclla attempted to wire approximately

    $2,450,000 out of her account at Scottsdale to a bank account in St. Vincent and

    the Grenandincs. This wire has not been executed. The current cash balance in

    Tavella's brokerage account is approximately $2.47 million.

•   Bagattin:    On Jtme 20, 2013, Bagattin instructed Scottsdale to wire

    approximately $4.33 million to a bank account in Cyprus.         This w1re was

    executed. On June 24, 2013, Bagattin instructed Scottsdale to send an additional
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        approximately $1.89 million to the same bank account.              This wire was also

        executed. The current cash balance in Bagattin's brokerage account is $3,000.

    • 	 Goldman:        On June 11, 2013, Goldman instructed Scottsdale to wire

        approximately $3.77 million to an account held at a bank in Geneva, Switzerland

        - a bank where Blaya also holds an account. This wire was executed. The cash

        balance in Goldman's account is $0.

    • 	 Ferrari: On June 19, 2013, Ferrari instructed Scottsdale to wire $500,000 to an

        account held at a bank in Panama. This wire was executed. On June 24, 2013,

        Ferrari instructed Scottsdale to wire an additional $4.9 million, this time to a bank

        in Belize. This wire was also executed. The cash balance in Ferrari's account is

        $0.

        F. 	    No Registration Statement Was In Eiiect At the Time Defendants Sold
                Biozoom Shares

        llO.    Section 5 of the Securities Act makes it unlawful for any person, directly or

indirectly, to offer or sell securities, using the U.S. mails or interstate cormncrce, unless such

offer or sale is registered with the Commission.

        111.    No registration statement was in effect for the shares sold by the Selling

Defendants.

        112.    No registration statement is m effect for the Biozoom shares held by

defendants Graciarena and Lomeyro.

        G. 	    Biozoom Is A Penny Stock As Defined By The Securities Exchange Act
                of 1934 ("Exchange Act'')

        113. 	 Biozoom's stock is a "penny stock" as defined by the Exchange Act At

times relevant to this Complaint, the stock's shares traded at less than $5.00 per share.

During the same time period, Biozoom's stock did not meet any of tl1c exceptions to


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penny stock classification pursuant to Section 3(a)(51) and Rule 3a51-l of the Exchange

Act.

        114.   For example, the company's stock: (1) did not trade on a national

securities exchange; (2) was not an "NMS stock," as defined in 17 C.F.R. §

242.242.600(b)(47); (3) did not have net tangible assets (i.e., total assets less intangible

assets and liabilities) in excess of $5,000,000; and (4) did not have average revenue of at

least $6,000,000 for the last three years. (See Exchange Act, Rule 3a51-1 (g).)

                                          COUNT I 


       VIOLATION OF SECTION 5 OF THE SECURITIES ACT, 15 U.S.C. §77e 


   (Defendants Tavella, Ficicchia, Blaya, Hernando, De Lorenzo, Bagattin, Ferrari, 

                                      Goldman)

        115.   Paragraphs 1 through 114 are hereby re-alleged and incorporated by

reference.

        116.   Defendants, by engaging m the conduct described above, directly or

indirectly, and without a registration statement in effect as to such securities:

               (a) made use of means or instruments of transportation or communication

                   in interstate commerce or of the mails to sell, through the use or

                   medium of a prospectus or otherwise; or

               (b) carried 	or caused to be cauied through the mails or in interstate

                   commerce, by any means or instruments of transportation, securities

                   for the purpose of sale or for delivery after sale.

        117.   Defendants, by engaging in the conduct described above, also directly or

indirectly, made use of the means or instruments of transportation or communication in

interstate commerce or of the mails to offer to sell or offer to buy through the use or



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medium of any prospectus or otherwise securities, without a registration statement having

been filed as to those securities.

          118.   By engaging in the foregoing conduct, Defendants directly or indirectly,

violated, and unless restrained and enjoined will continue to violate Sections 5(a) and

5(c) ofthe Securities Act [15 U.S.C. §§ 77e(a) and 77e(c)].

                                         COUNT II 


       INJUNCTION PURSUANT TO SECTION 20(b) OF THE SECURITIES ACT 


                          (Defendants Graciarena and Lourcyro) 


          119.   Paragraphs 1 through 114 are re-alleged and incorporated by reference

herein.

          120.   Securities Act Section 20(b) provides that "whenever it shall appear to the

Conunission that any person is engaged in or is about to engage in any acts or practices

which constitute or will constitute a violation of the provisions of this title, the

Commission may in its discretion, bring an action in district court to enjoin such acts or

practices ..."

          121.   Defendants Graciarcna and Loureyro have deposited shares of Biozoom in

their respective brokerage accounts.      Those shares do not bear a restrictive legend.

However, no registration statement is in effect for the offer of sale of those shares.

          122.   Unless restrained and enjoined, Graeiarena and Loureyro are likely to

offer or sell their Biozoom shares to the public in violation of Section 5 of the Securities

Act.




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                                  PRAYER F'OR RELIEF'

        WHEREFORE, the Commission respectfully rcyquests that this Court:

                                              I.

       Issue fmdings of fact and conclusions of law that defEmdants Ficicchia, Blaya,

Hernando, De Lorenzo, Tavella, Goldman, Bagattin, and Ferrari committed the violations

charged and alleged herein.

                                              II.

       Enter an order temporarily restraining and enjoining defendants Ficicchia, Blaya,

Hernando, De Lorenzo, Tavella, Goldman, Bagattin, Ferrari, Graciarena, and Loureyro,

their officers, agents, servants, employees, attorneys and those persons in active concert or

participation with defendants who receive actual notice of the Order, by personal service or

otherwise, and each of them from, directly or indirectly, engaging in the transactions, acts,

practices or courses of business described above, or in conduct of similar purport and object,

in violation of Sections 5(a) and 5(c) of the Securities Act (15 U.S.C. §§ 77e(a) and 77e(c)].

                                             Ill.

       Enter an order freezing the brokerage accounts and any assets of defendants

Ficicchia, Blaya, Hernando, De Lorenzo, Tavella, Goldman, Bagattin, and Ferrari derived

from the sale of Biozoom stock; and, freezing the brokerage accounts of defendants

Graciarena and Loureyro holding Biozoom shares.

                                             IV.

       Enter an order requmng defendants Ficicchia, Blaya, Hernando, De Lorenzo,

Tavella, Goldman, Bagattin, and Fenati to return to the United States any proceeds from the

sale of Biozoom stock that have been transferred abroad and those proceeds which are




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returned be frozen in a domestic bank during the pendency of this action to preserve such

assets for the satisfaction of disgorgement.

                                                v.
        Enter an Order of Permanent Injunction restraining and enJomrng defendants

Ficicchia, Blaya, Hernando, De Lorenzo, Tavella, Goldman, Bagattin, Ferrari, Graciarena,

and Loureyro, their officers, agents, servants, employees, attorneys and those persons in

active concert or participation with defendants who receive actual notice of the Order, by

personal service or otherwise, and each of them from, directly or indirectly, engaging in the

transactions, acts, practices or courses of business described above, or in conduct of similar

purport and object, in violation of Sections 5(a) a11d 5(c) of the Securities Act [15 U.S.C. §§

77e(a) and 77e(c)].

                                                VI.

       Enter an Order requiring defendants Ficicchia, Blaya, Hernando, De Lorenzo,

Tavella, Goldman, Bagattin, and Ferrari to disgorge the ill-gotten gains received as a result

of the violations alleged herein, including prejudgment interest.

                                               VII.

       Issue an Order imposing upon defendants Ficicchia, Blaya, Hemando, De Lorenzo,

Tavella, Goldman, Bagattin, and Fenari appropriate civil penalties pursuant to Section 20(d)

of the Securities Act [15 U.S.C. §77t(d)].

                                               VIII.

       Issue an order pem1anently and unconditionally baning, pursuant to Section 20(g) of

the Securities Act [15 U.S.C. § 77t(g)J, the Selling Defendants fiom participating in an




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offering of penny stock as defined by Exchange Act Section 3(a)(51) [15 U.S.C. §

78c(a)(51)] and Rule 3a51-l thereunder [17 C.F.R. § 240.3a51-1].

                                               IX.

        Retain jurisdiction of this action in accordance with the principles of equity and the

Federal Rules of Civil Procedure in order to implement and carry out the terms of all orders

and decrees that may be entered or to entertain any suitable application or motion for

additional relief within the jurisdiction of this Court.

                                                X.
        Grant such other relief as this Court deems appropriate.



Dated: July 3, 2013
                                                 UNITED STATES SECURITIES AND
                                                 EXCHANGE COMMISSION


                                                 By:~~£_A.~~--­
                                                 Richard E. Sirnpson (ftS5859)
                                                 U.S. Securities and Exchange Conm1ission
                                                 100 F Street, NE
                                                 Washington, DC 20549
                                                 Telephone: (202) 551-4420
                                                 SimnsonR@sec.gov


        Ofcounsel:

       David J. Gottesman 

       Patrick M. Bryan 


       Antonia Chion 

       Ricky Sachar 

       Deborah J. Tarasevich 

       Scott M. Lowry 

       Jemlie B. Krasner 

       U.S. Securities and Exchange Commission 

       100 F Street, NE 




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 Washington, DC 20549 





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